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                5 Attorneys for Defendant, PAUL J. NAPOLI
                6
                7                         UNITED STATES DISTRICT COURT
                8         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                9
               10 MARC I. WILLICK, an individual,              Case No. 2: 15-cv-006520AB-E
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 ~             11                Plaintiff,
 :r:                                                           DEFENDANT PAUL J. NAPOLI'S
 (.)
               12         vs.                                  ANSWER TO FIRST AMENDED
 t-<
 0                                                             COMPLAINT
 0       ~                                              &
 ~       Ol    13 NAPOLI          BERN       RIPKA
 0 ::             ASSOCIATES, LLP, a purported limited
 ~      :      14 liability _patinership_; NAPOLI BERN         District Judge: Hon. Andre Birotte, Jr.
 z       ~
                  RIPKA SHKOLNIK & ASSOCIATES,                 Magistrate Judge: Hon. Charles F.
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 t-<    ~      15 LLP, a purported limited liability                             Eick
 ~      <l;
                  12artnership; NAPOLI BERN RIPKA
 ~             16 SHKOLNIK, LLP? a puq:~orted limited
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                  liability pa11nersh1p; NAPOLI BERN           Action filed : 12112114 (Los Angeles
 ~             17 RIPKA, LLP, a purpmied limited liability                      County Superior CoUli
 ~                patinership; NAPOLI KAISER BERN,             Trial Date:     None set
               18 LLP, a purpmied limited liabi lity
                  partnership; MARC J. BERN, an
               19 mdividual; PAUL J. NAPOLI, an
                  individual; and DOES 1 through 50,
               20
                                 Defendants.
               21
               22
               23         COME NOW Answering Defe ndant PAUL J . NAPOLI ("Answering
               24 Defendant"), and for themselves only, and answer Plaintiff MARC I. WILLICK's
               25 ("Plaintiff') First Amended Complaint as follows:
               26                                       ANSWER
               27         1.     Answering paragraph 1 of the First Amended Complaint, Answering
               28 Defendant admits that the action originally filed in the Superior Court of the State of


12969456.1                      DEFENDANT PAUL J. NAPOLI'S ANSWER TO FIRST AMENDED COMPLAINT
                Case 2:15-cv-00652-AB-E Document 67 Filed 04/16/18 Page 2 of 21 Page ID #:753



                  1 California was removed to the federal comi.
                  2        2.     Answering paragraph 2 of the First Amended Complaint, Answering
                  3 Defendant admits that this Court has subject-matter jurisdiction over this action.
                  4 Defendant denies that this Court has personal jurisdiction over this Answering
                  5 Defendant. However, the arbitration provision of the agreements entered into
                  6 between Plaintiff and Napoli Born Ripka & Associates, under the American
                  7 Arbitration Association rules, requires arbitration of claims. Except as expressly
                  8 admitted, Answering Defendant denies each and every allegation contained therein.
                  9        3.     Answering paragraph 3 of the First Amended Complaint, Answering
                 10 Defendant lacks information or belief sufficient to either admit or deny the
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 .....:1
 .....:1         11 allegations and, on that basis, deny each and every allegation contained therein.
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                 12        4.     Answering paragraph 4 of the First Amended Complaint, Answering
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 0         ::    13 Defendant lacks information or belief sufficient to either admit or deny the
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                 14 allegations and, on that basis, deny each and every allegation contained therein.
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 E-< ;3          15        5.     Answering paragraph 5 of the First Amended Complaint, Answering
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 i$:             16 Defendant lacks infonnation or belief sufficient to either admit or deny the
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  <.r:           17 allegations and, on that basis, deny each and every allegation contained therein.
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                 18        6.     Answering paragraph 6 of the First Amended Complaint, Answering
                 19 Defendant lacks information or belief sufficient to either admit or deny the
                 20 allegations and, on that basis, deny each and every allegation contained therein.
                 21        7.     Answering paragraph 7 of the First Amended Complaint, Answering
                 22 Defendant lacks information or belief sufficient to either admit or deny the
                 23 allegations and, on that basis, deny each and every allegation contained therein.
                 24        8.     Answering paragraph 8 of the First Amended Complaint, Answering
                 25 Defendant lacks information or belief sufficient to either admit or deny the
                 26 allegations and, on that basis, deny each and every allegation contained therein.
                 27        9.     Answering paragraph 9 (and subparagraphs a thorough p) of the First
                 28 Amended Complaint, the allegations contained therein are legal conclusions or

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12969456 1                       DEFENDANT PAUL J. NAPOLI'S AN SWER TO FIRST AMENDED COMPLAINT
             Case 2:15-cv-00652-AB-E Document 67 Filed 04/16/18 Page 3 of 21 Page ID #:754



               1 recitations of the law as alleged by Plaintiff, and as such, they do not require a
               2 response. To the extent that a response may be required, Answering Defendant
               3 denies each and every allegation contained therein.
               4         10.   Answering paragraph 10 of th e First Amended Complaint, Answering
               5 Defendant lacks information or belief sufficient to either admit or deny the
               6 allegations and, on that basis, deny each and every allegation contained therein.
               7        11 .   Answering paragraph 11 of the First Amended Complaint, the
               8 allegations contained therein are legal conclusions or recitations of the law as
               9 alleged by Plaintiff, and as such, they do not require a response. To the extent that a
              10 response may be required, Answering Defendant denies each and every allegation
              11 contained therein.
              12        12.    Answering paragraph 12 of the First Amended Complaint, Answering
              13 Defendant admits that on or about March 7, 20 11, Defendant Napoli Bern Ripka &
              14 Associates, LLP entered into a written agreement with Plaintiff ("Agreement 1"), a
              15 copy of which is attached as Exhibit 1 to Plaintiffs First Amended Complaint.
              16 Answering Defendants allege that Agreement 1 is the best evidence of what it states.
              17 Except as expressly admitted and with regard to any and all remaining allegations in
              18 Paragraph 12, Answering Defendant denies each and every allegation contained
              19 therein.
              20        13.    Answering paragraph 13 of the First Amended Complaint, Answering
              21 Defendant admits that on or about May 20, 20 11, Defendant Napoli Bern Ripka &
              22 Associates, LLP entered into a written agreement with Plaintiff ("Agreement 2"), a
              23 copy of which (with the exception of Exhibit C to Second Agreement 2) is attached
              24 as Exhibit 2 to Plaintiffs First Amended Complaint. Answering Defendant alleges
              25 that Agreement 2 is the best evidence of what it states. Except as expressly admitted
              26 and with regard to any and all remaining allegations in Paragraph 13, Answering
              27 Defendant denies each and every allegation contained therein.
              28        14.    Answering paragraph 14 of the First Amended Complaint, Answering

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12969456.1                     DEFENDANT PAUL J. NAPOLI'S ANSWER TO FIRST AM ENDED COMPLAINT
               Case 2:15-cv-00652-AB-E Document 67 Filed 04/16/18 Page 4 of 21 Page ID #:755



                 1 Defendant admits the allegations contained therein.
                 2         15.   Answering paragraph 15 of the First Amended Complaint, Answering
                 3 Defendant re-alleges and incorporate by reference paragraphs 1 through 15 of this
                 4 Answer as set forth above as if full y set fot1h hereat.
                 5         16.   Answering paragraph 16 of the First Amended Complaint, the
                 6 allegations contained therein are legal conclusions or recitations of the law as
                 7 alleged by Plaintiff, and as such, they do not require a response. To the extent that a
                 8 response may be required, Answering Defendant denies each and every allegation
                 9 contained therein.
                10         17.    Answering paragraph 17 of the First Amended Complaint, Answering
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 .....:l        11 Defendant re-alleges and incorporate by reference paragraphs 1 through 16 of this
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                12 Answer as set fm1h above as if fully set forth hereat.
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 0 ::           13         18.    Answering paragraph 18 of the First Amended Complaint, Answering
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 ~ ~            14 Defendant deni es each and every allegation contained therein. Further, paragraph
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                15   18 contains legal conclusions or recitations of the law as alleged by Plaintiff, and as
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 ~              16 such, they do not require a response. To the extent that a response may be required,
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 ~              17 Answering Defendant lacks infonnation or belief suffic ient to either admit or deny
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                18 the allegations and, on that basis, deny each and every allegation contained there in.
                19         19.    Answering paragraph 19 of the First Amended Complaint, Answering
                20 Defendant alleges that Agreement 2 is the best evidence of what it states. Fut1her,
                21 paragraph 19 contains legal conclusions or recitations of the law as alleged by
                22 Plaintiff, and as such, they do not require a response. To the extent that a response
                23 may be required, except as expressly admitted, Answering D efendant lacks
                24 information or belief sufficient to either admit or deny the allegations and, on that
                25 basis, deny each and every allegation contained therei n.
                26         20.    Answering paragraph 20 of the First Amended Complaint, Answering
                27 Defendants allege that Agreement 2 is the best evidence of what it states . Fu11her,
                28 paragraph 20 contains legal conclusions or recitations of the law as alleged by

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12969456.1                       DEFEN DANT PAUL J. NAPOLI'S AN SWER TO FIRST AM EN DED COMPLAINT
              Case 2:15-cv-00652-AB-E Document 67 Filed 04/16/18 Page 5 of 21 Page ID #:756



                1 Plaintiff, and as such, they do not require a response. To the extent that a response
                2 may be required, except as expressly admitted, Answering Defendant lacks
                3 information or belief sufficient to either admit or deny the allegations and, on that
                4 basis, deny each and every allegation contained therein.
                5         21.    Answering paragraph 21 of the First Amended Complaint, Answering
                6 Defendant alleges that Agreement 2 is the best evidence of what it states. Further,
                7 paragraph 21 contains legal conclusions or recitations of the law as alleged by
                8 Plaintiff, and as such, they do not require a response. To the extent that a response
                9 may be required, except as expressly admitted, Answering Defendant lacks
               10 information or belief sufficient to either admit or deny the allegations and, on that
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 ...:1         11   basis, deny each and every allegation contained therein.
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               12         22.    Answering paragraph 22 of the First Amended Complaint, Answering
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 0 ?:          13 Defendant alleges that Agreement 2 is the best evidence of what it states. FUiiher,
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 ~       :     14 paragraph 22 contains legal conclusions or recitations of the law as alleged by
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 E-<     ~     15 Plaintiff, and as such, they do not require a response. To the extent that a response
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 ~             16 may be required, except as expressly admitted, Answering Defendant lacks
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 ~             17 information or belief sufficient to either admit or deny the allegations and, on that
 ~
               18 basis, deny each and every allegation contained therein.
               19         23 .   Answering paragraph 23 of the First Amended Complaint, the
               20 allegations contained therein are legal conclusions or recitations of the law as
               21   alleged by Plaintiff, and as such, they do not require a response. To the extent that a
               22 response may be required, Answering D efendant lacks information or belief
               23 sufficient to either admit or deny the allegations and, on that basis, deny each and
               24 every allegation contained therein.
               25         24.    Answering paragraph 24 of the First Amended Complaint, the
               26 allegations contained therein are legal conclusions or recitations of the law as
               27 alleged by Plaintiff, and as such, they do not require a response. To the extent that a
               28 response may be required, Answering Defendant denies each and every allegation

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12969456.1                       DEFENDANT PAUL J. NA POLI'S ANSWER TO FIRST AMENDED COMPLAINT
             Case 2:15-cv-00652-AB-E Document 67 Filed 04/16/18 Page 6 of 21 Page ID #:757



               1 contained therein.
               2         25.    Answering paragraph 25 of the First Amended Complaint, the
               3 allegations contained therein are legal conclusions or recitations of the law as
               4 alleged by Plaintiff, and as such, they do not require a response. Answering
               5 Defendant lacks information or belief sufficient to either admit or deny the
               6 allegations and, on that basis, deny each and every allegation contained therein.
               7         26.    Answering paragraph 26 of the First Amended Complaint, Answering
               8 Defendant re-alleges and incorporate by reference paragraphs 1 through 25 of this
               9 Answer as set forth above.
              10         27 .   Answering paragraph 27 of the First Amended Complaint, the
              11 allegations contained therein are legal conclusions or recitations of the law as
              12 alleged by Plaintiff, and as such, they do not require a response. To the extent that a
              13 response may be required, Answering Defendant denies each and every allegation
              14 contained therein.
              15         28.    Answering paragraph 28 of the First Amended Complaint, the
              16 allegations contained therein are legal conclusions or recitations of the law as
              17 alleged by Plaintiff, and as such, they do not require a response. To the extent that a
              18 response may be required, Answering Defendant denies each and every allegation
              19 contained therein.
              20        29.     Answering paragraph 29 of the First Amended Complaint, Answering
              21 Defendant denies each and every allegation contained therein.
              22        30.     Answering paragraph 30 of the First Amended Complaint, the
              23 allegations contained therein are legal conclusions or recitations of the law as
              24 alleged by Plaintiff, and as such, they do not require a response. To the extent that a
              25 response may be required, Answering Defendant denies each and every allegation
              26 contained therein.
              27        31.     Answering paragraph 31 of the First Amended Complaint, Answering
              28 Defendant denies each and every allegation contained therein.

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12969456.1                      DEFENDANT PA UL J. NAPO LI'S ANSWER TO FIRST AMENDE D COMPLA INT
             Case 2:15-cv-00652-AB-E Document 67 Filed 04/16/18 Page 7 of 21 Page ID #:758



               1        32.    Answering paragraph 32 of the First Amended Complaint, Answering
               2 Defendant denies each and every allegation contained therein.
               3        33.    Answering paragraph 33 of the First Amended Complaint, Answering
               4 Defendant re-alleges and incorporate by reference paragraphs 1 through 32 of this
               5 Answer as set forth above.
               6        34.    Answering paragraph 34 of the First Amended Complaint, Answering
               7 Defendant denies each and every allegation contained therein.
               8        35.    Answering paragraph 35 of the First Amended Complaint, the
               9 allegations contained therein are legal conclusions or recitations of the law as
              10 alleged by Plaintiff, and as such, they do not require a response. To the extent that a
              11 response may be required, Answering Defendant denies each and every allegation
              12 contained therein.
              13        36.    Answering paragraph 36 of the First Amended Complaint, Answering
              14 Defendant re-alleges and incorporate by reference paragraphs 1 through 3 5 of this
              15 Answer as set fmih above.
              16        37.    Answering paragraph 3 7 of the First Amended Complaint, the
              17 allegations contained therein are legal conclusions or recitations of the law as
              18 alleged by Plaintiff, and as such, they do not require a response. To the extent that a
              19 response may be required, Answering Defendant denies each and every allegation
              20 contained therein.
              21        38.    Answering paragraph 38 ofthe First Amended Complaint, the
              22 allegations contained therein are legal conclusions or recitations of the law as
              23 alleged by Plaintiff, and as such, they do not require a response. To the extent that a
              24 response may be required, Answering Defendant denies each and every allegation
              25 contained therein.
              26        39.    Answering paragraph 39 of the First Amended Complaint, the
              27 allegations contained therein are legal conclusions or recitations of the law as
              28 alleged by Plaintiff, and as such, they do not require a response. To the extent that a

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12969456.1                    DEFENDANT PAUL J. NAPOLI'S ANSWER TO FIRST AMENDED COMPLAINT
                Case 2:15-cv-00652-AB-E Document 67 Filed 04/16/18 Page 8 of 21 Page ID #:759



                      response may be required, Answering Defendant denies each and every al legation
                  2 contained therein.
                  3         40.    Answering paragraph 40 of the First Amended Complaint, at this time
                  4 Answering Defendant lacks information or belief sufficient to either admit or deny
                  5 the allegations and, on that basis, deny each and every allegation contained therein.
                  6         41.    Answering paragraph 41 of the First Amended Complaint, at thi s time
                  7 Answering Defendant lacks information or belief sufficient to either admit or deny
                  8 the allegations and; on that basis, deny each and every allegation contained therein.
                  9         42.    Answering paragraph 42 of the First Amended Complaint, at this time
                 10 Answering Defendant lacks information or belief sufficient to either admit or deny
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 .....:l         11 the allegations and, on that basis, deny each and every allegation contained therein.
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                 12         43.    Answering paragraph 43 of the First Amended Complaint, at this time
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 p:::      ~     13 Answering Defendant lacks information or belief sufficient to either admit or deny
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 o(3       :     14 the allegations and, on that basis, deny each and every allegation contained therein.
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                 15         44 .   Answering paragraph 44 of the First Amended Complaint, at this time
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 ~               16 Answering Defendant lacks information or belief sufficient to either admit or deny
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 ~               17 the allegations and, on that basis, deny each and every allegation contained therein .
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                 18         45.    Answering paragraph 45 of the First Amended Complaint, the
                 19 allegations contained therein are legal conclusions or recitations of the law as
                 20 alleged by Plaintiff, and as such, they do not require a response. To the extent a
                 21 response may be required, Answering Defendant denies each and every allegation
                 22 contained therein.
                 23         Prayer: In response to Plaintiff s Prayer for Relief contained in his F irst
                 24 Amended Complaint, Answering Defendant denies that Plaintiff is entitled to any
                 25 type of relief requested, including but not limited to compensatory damages,
                 26 punitive damages, restitution, injunctive relief, or costs and expenses of this action,
                 27 or any relief whatsoever.
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12969456.1                         DEFEN DANT PAUL J. NA POLI'S ANSWER TO FIRST AMEND ED COMPLAINT
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                1                              AFFIRMATIVE DEFENSES
                2         Answering Defendant further asserts the following affirmative defenses . By
                3 asserting these defenses, Answering Defendant does not concede that he has the
                4 burden of production or proof as to any affirmative defense asserted below. Further,
                5 Answering Defendant does not presently know all of the facts concerning the
                6 conduct of Plaintiff sufficient to state all affirmative defenses at this time.
                7 Answering Defendant is informed and believe that a reasonable opportunity for
                8 investigation and discovery will reveal facts in support of the following affirmative
                9 defenses.
               10                          FIRST AFFIRMATIVE DEFENSE
               11                                (Failure to State a Claim)
               12         1.    As a separate and distinct affirmative defense to the First Amended
               13 Complaint, Answering Defendant alleges that the First Amended Complaint fails to
               14 state facts sufficient to constitute a claim upon which relief may be granted.
               15                            SECOND AFFIRMATIVE DEFENSE
               16                (Lack of Subject Matter Jurisdiction- Binding Arbitration)
               17         2.    As a separate and distinct affirmative defense to the First Amended
               18 Complaint, Answering Defendant alleges that the Court lacks subject matter
               19 jurisdiction over the First Amended Complaint and each cause of action therein, or
               20 some of them, to the extent that Plaintiff is subject to an agreement requiring him to
               21 submit his claims against Defendant Napoli Bern Ripka & Associates to binding
               22 arbitration under American Arbitration Association rules.
               23                          THIRD AFFIRMATIVE DEFENSE
               24                                  (Equitable Doctrines)
               25        3.     As a separate and distinct affirmative defense to the First Amended
               26 Complaint, Answering Defendant alleges that the First Amended Complaint and
               27 each claim set forth therein, or some of them, are barred by the equitable doctrines
               28 of unclean hands, estoppel, laches, and unjust enrichment.

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12969456. 1                    DEFENDANT PAUL J. NAPOLI'S ANSWER TO FIRST AMENDED COMPLAINT
              Case 2:15-cv-00652-AB-E Document 67 Filed 04/16/18 Page 10 of 21 Page ID #:761



                 1                         FOURTH AFFIRMATIVE DEFENSE
                 2                                         (Consent)
                 3         4.     As a separate and distinct affirmative defense to the First Amended
                 4 Complaint, Answering Defendant alleges that the F irst Amended Complaint and
                 5 each claim set forth therein against Answering Defendants is and are barred by the
                 6 doctrine of consent.
                 7                           FIFTH AFFIRMATIVE DEFENSE
                 8                                 (Accord and Satisfaction)
                 9         5.     As a separate and distinct affirmative defense to the First Amend ed
                10 Complaint, Answering Defendant alleges that that any monies owed to Plaintiff
                11 have been paid in full and any obligations he may have owed to Plaintiff has been
                12 paid or otherwise satisfied in fu ll.
                13                           SIXTH AFFIRMATIVE DEFENSE
                14              (Contract Too Vague, Uncertain, Indefinite to be Enforced)
                15         6.     As a separate and distinct affirmative defense to the First Amended
                16 Complaint, Answering Defendant alleges that the First Amended Complaint and any
                17 claim for breach of contract is barred, in who le or in part, because the purported
                18 contract and/or agreement upon which the claim is based is too vague, uncertain,
                19 and indefinite to be enforced .
               20                         SEVENTH AFFIRMATIVE DEFENSE
               21                     (Answering Defendants Fully Performed Duties)
               22          7.     As a separate and distinct affirmative defense to the First Amended
               23 Complaint, Answering Defendant alleges that to the extent that any agreements,
               24 promises and/or covenants were made by Answering Defendant (and Answering
               25 Defendant denies that any was made), Answering Defendant fully performed the
               26 duties under any and all agreements between him and Plaintiff, and/or factors
               27 extraneous to the alleged contract(s) made performance impossible and, therefore,
               28 Answering Defendant did not breach or intend to breach any contract(s) between

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129694 56.1                      DEFENDANT PAUL J. NAPOLI'S ANSWER TO FIRST AMENDED COMP LAINT
               Case 2:15-cv-00652-AB-E Document 67 Filed 04/16/18 Page 11 of 21 Page ID #:762



                  1 Plaintiff and Answering Defendant.
                  2                        EIGHTH AFFIRMATIVE DEFENSE
                  3                           (Lack of Mutuality of Agreement)
                  4        8.     As a separate and distinct affirmative defense to the First Amended
                  5 Complaint, Answering Defendant alleges that any purported contract is
                  6 unenforceable for lack of mutuality of agreement.
                  7                         NINTH AFFIRMATIVE DEFENSE
                  8                                     (Impossibility)
                  9        9.     As a separate and distinct affirmative defense to the First Amended
                 10 Complaint, Answering Defendant alleges that the First Amended Complaint and
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  ~              11 each cause of action set forth therein, or some of them, are barred because any
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                 12 fai lure of performance, if any such failure occurred, was the result of impossibility
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 0 ::            13 of performance, and not the result of a violation of the law.
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         :       14                         TENTH AFFIRMATIVE DEFENSE
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  p::            16         10.   As a separate and distinct affirmative defense to the First Amended
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  ~              17 Complaint, Answering Defendant alleges that the First Amended Complaint and
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                 18 each cause of action set forth therein, or some of them, are barred because
                 19 Answering Defendant's obligations, if any, have been extinguished pursuant to
                20 section 1495 of the Civil Code because Plaintiff was not able or willing to perform
                21 according to any offer by Answering Defendant under the alleged contract, if any.
                22                       ELEVENTH AFFIRMATIVE DEFENSE
                23                                      (Reformation)
                24          11.   As a separate and distinct affirmative defense to the First Amended
                25 Complaint, Answering Defendant alleges that the First Amended Complaint and
                26 each cause of action set forth therein, or some of them, are barred due to
                27 reformation.
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12969456. I                       DEFENDANT PAUL J. NAPOLI'S ANSWER TO FIRST AMENDED COMPLAINT
               Case 2:15-cv-00652-AB-E Document 67 Filed 04/16/18 Page 12 of 21 Page ID #:763



                  1                       TWELFTH AFFIRMATIVE DEFENSE
                  2                                     (Modification)
                  3         12.   As a separate and distinct affirmative defense to the First Amended
                  4 Complaint, Answering Defendant alleges that the First Amended Complaint and
                  5 each cause of action set forth therein, or some of them, are barred because of
                  6 modification of the alleged contract by written or oral agreement.
                  7                     THIRTEENTH AFFIRMATIVE DEFENSE
                  8                                       (Rescission)
                  9         13.   As a separate and distinct affirmative defense to the First Amended
                 10 Complaint, Answering Defendant alleges that the First Amended Complaint and
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 ....:l          11 each cause of action set fmih therein, or some of them, are barred due to rescission.
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                 12                     FOURTEENTH AFFIRMATIVE DEFENSE
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          "'     13                                 (Mistake of Fact/Law)
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 ~ ~             14         14.   As a separate and distinct affirmative defense to the First Amended
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 E-<      !j     15 Complaint, Answering Defendant alleges that the First Amended Complaint and
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 ~               16 each cause of action set fmih therein, or some of them, are barred because, without
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 en
 ~               17 admitting that any contract has been formed, of the parties' mistake of fact and/or
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                 18 law in connection with the formation of any contract.
                 19                      FIFTEENTH AFFIRMATIVE DEFENSE
                 20                (Plaintifrs Breaches of Good Faith and Fair Dea ling)
                 21         15.   As a separate and distinct affirmative defense to the First Amended
                 22 Complaint, Answering Defendant alleges that the First Amended Complaint and
                 23 each cause of action set forth therein, or some of them, are barred because any
                 24 breaches of the alleged contract, which Answering Defendant denies, were excused
                 25 by Plaintiffs prior material breaches of the covenant of good faith and fair dealing.
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12969456.1                        DEFENDANT PAUL J. NA POLI 'S AN SWER TO FIRST AMENDED COMPLAINT
              Case 2:15-cv-00652-AB-E Document 67 Filed 04/16/18 Page 13 of 21 Page ID #:764



                 1                          SIXTEENTH AFFIRMATIVE DEFENSE
                 2                               (Performance Frustrated)
                 3         16.   As a separate and distinct affirmative defense to the First Amended
                 4 Complaint, Answering Defendant alleges that the First Amended Complaint an d
                 5 each cause of action set forth therein, or some of them, are barred because
                 6 answering Defendant's obligations, if any, have been extinguished pursuant to
                 7 section 1495 of the Civil Code because Plaintiff prevented or frustrated Answering
                 8 Defendant's performance under the alleged contract.
                 9                    SEVENTEENTH AFFIRMATIVE DEFENSE
                10                           (Failure to Plead with Specificity)
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 ~              11         17.   As a separate and distinct affirmative defense to the First Amended
 ::r:"
 C)             12 Complaint, Answering Defendant alleges that Plaintiffs fraud claim is batTed
 ~
 0p:: ::0)      13 because the pleading is vague and uncertain, is not pled with particularity, fa ils to
 o-:
 ~ ~            14 properly plead any damages resulting from the alleged fraud, and fai ls to
 z       ~
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 E-t ::::       15 demonstrate the specificity required for pleading of intentional torts.
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 p::            16                     EIGHTEENTH AFFIRMATIVE DEFENSE
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 ~              17                                (No Reasonable Reliance)
 ~
                18         18.   As a separate and distinct affirmative defense to the First Amended
                19 Complaint, Answering Defendant alleges that Plaintiff did not reasonably rely upon
                20 any allegedly fraudulent statements or any promises or other statements allegedly
                21 made by Answering Defendant.
                22                     NINETEENTH AFFIRMATIVE DEFENSE
                23                               (No Detrimental Reliance)
                24         19.   As a separate and distinct affirmative defense to the First Amended
                25 Complaint, Answering Defendant alleges that Plaintiff did not substantially change
                26 his position to his detriment in reliance upon any promises allegedly made to
                27 Plaintiff by Answering Defendant.
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129694561                        DEFENDANT PAUL J. NAPO LI'S ANSWER TO FIRST AMENDED COMPLAINT
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                  1                        TWENTIETH AFFIRMATIVE DEFENSE
                  2                   (Alleged Representations Were True, Not Knowingly
                  3                    False, Opinion, and Based On Reasonable Ground)
                  4           20.    Answering Defendant alleges that Answering Defendant's al leged
                  5 representations were true, or not knowingly false when made, or were merely
                  6 statements of opinion, or Answering Defendant had a reasonable ground for such
                  7 belief.
                  8                       TWENTY-FIRST AFFIRMATIVE DEFENSE
                  9                        (Uncertainty of Alleged Misrepresentations)
                 10           21.    As a separate and distinct affirmative defense to the First Amended
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 j               11 Complaint, Answering Defendant alleges that Plaintiffs misrepresentation claims
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                 12 are unenforceable because the alleged misrepresentations by Answering Defendant
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                 13 was too uncertain and indefinite to be enforced.
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                 14                     TWENTY-SECOND AFFIRMATIVE DEFENSE
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 E-<     ~       15                                       (Breach of Duty)
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 ~               16           22 .   As a separate and distinct affirmative defense to the First Amended
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 ~               17 Complaint, Answering Defendant is informed and believes that a reasonable
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                 18 opportunity for investigation and discovery will reveal and, on that basis, allege
                 19 Plaintiff s claims are barred by his own breach of the duties owed to Answering
                 20 Defendant under California Labor Code sections 2854, 2856, 2857, 2858 and/or
                 21   2859.
                 22                      TWENTY-THIRD AFFIRMATIVE DEFENSE
                 23                                 (After-Acquired Evidence)
                 24           23.    As a separate and distinct affirmative defense to the First Amended
                 25 Complaint, Answering Defendant alleges that, to the extent during the course of this
                 26 litigation Answering Defendant acquire any evidence of w rongdoing of Plaintiff,
                 27 which wrongdoing would have materially affected the terms and conditions of
                 28 Plaintiffs employment, or would have resulted in Plaintiff being either demoted,

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12969456. I                          DEFENDANT PAUL J. NAPOLI'S ANSWER TO FI RST AMEN DED COMPLAINT
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                1 disciplined, or terminated, such after-acquired evidence shall bar Plaintiffs claim on
                2 liability or damages and shall reduce such claim as provided by law.
                3                   TWENTY-FOURTH AFFIRMATIVE DEFENSE
                4                                 (Statute of Limitations)
                5         24.    Answering Defendant alleges that each purported cause of action set
                6 fm1h in the First Amended Complaint is barred in whole or in part by the applicable
                7 statute(s) of limitation, including without limitation, the four-year limitations period
                8 contained in California Code of Civil Procedure section 33 7, the three-year
                9 limitations period contained in California Code of Civil Procedure section 338(d);
              10 the four-year limitations period contained in California Code of Civil Procedure
              11 section 343; and/or the four year limitations period contained in Business and
               12 Professions Code section 17208.
               13                    TWENTY-FIFTH AFFIRMATIVE DEFENSE
               14                                 (No Vicarious Liability)
               15         25 .   As a separate and distinct affirmative defense to the First Amended
               16 Complaint, Answering Defendant alleges that he is not vicariously liable for any act
               17 or omission of any other person, by way of respondeat superior, agency, or
               18 otherwise.
               19                    TWENTY-SIXTH AFFIRMATIVE DEFENSE
              20                      (Comparative Fault/Contributory Negligence)
              21          26.    As a separate and distinct affi rmative defense to the First Amended
              22 Complaint, Answering Defendant alleges that Plaintiff failed to exercise reasonable
               23 and ordinary care, caution and/or prudence and the alleged injuries and damages, if
               24 any were suffered , were proximate ly caused and/or contributed to by Plaintiffs own
               25 negligent and/or intentional conduct and any recovery to which P laintiff might be
               26 entitled must be reduced by reason of Plaintiffs contributory fault and/or
               27 comparative negligence.
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12969456.1                       DEFEN DANT PAUL J. NA POLI'S ANSWER TO FIRST AMENDED COMPLAINT
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                 1                  TWENTY-SEVENTH AFFIRMATIVE DEFENSE
                 2                         (Doctrine of Avoidable Consequences)
                 3         27.   As a separate and distinct affirmative defense to the F irst Amended
                 4 Complaint, Answering Defendant alleges that Plaintiffs causes of action, and each
                 5 of them, are barred, in whole or in pm1, by the doctrine of avoidable consequences.
                 6                   TWENTY-EIGHTH AFFIRMATIVE DEFENSE
                 7                                   (Failure to Mitigate)
                 8         28.   As a separate and distinct affirmative defense, Answering Defe ndant is
                 9 informed and believes that further investigation and discovery will reveal, and on
                10 that basis allege that, without admitting that Plaintiff is entitled to any recovery,
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 :3             11 Plaintiff has failed to take re asonable steps to mitigate his alleged damages.
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                12                    TWENTY-NINTH AFFIRMATIVE DEFENSE
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                13                                  (Set Off and/or Offset)
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 ~      :       14         29.   As a separate and distinct affirmative defense to the First Amended
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        ~       15 Complaint, Answering Defendant contends that Plaintiff is not entitled to recover
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 ~              16 anything in this action, and were P laintiff to obtain any monetary relief, any such
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 ~              17 recovery must be offset and/or set off by all damages and losses proximately caused
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                18 by Plaintiffs conduct.
                19                       THIRTIETH AFFIRMATIVE DEFENSE
                20                          (Punitive Damages U nconstitutional)
                21         30.   As a separate and distinct affirmative defense to the First Amended
                22 Complaint, Answering Defendant alleges that Plaintiff is not entitled to recover any
                23 punitive damages because the imposition of such damages constitutes a violation of
                24 Answering Defendant's rights under the United States and/or California
                25 Constitutions, including but not limited to, Answering D efendant's rights to due
                26 process and/or equal protection under the law, and the right to protection from
                27 "excessive fines. "
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12969456. 1                      DEFEN DANT PAUL J. NA POLI 'S ANSWER TO FI RST AMENDED COM PLAI NT
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                1                      THIRTY-FIRST AFFIRMATIVE DEFENSE
                2                                 (Not Plaintiffs Employer)
                3           31.   As a separate and distinct affirmative defense to the First Amended
                4 Complaint, Answering Defendant alleges that Plaintiffs claims against Answering
                5 Defendant PAUL J. NAPOLI are barred, in whole or in part, because PAUL J.
                6 NAPOLI was not Plaintiffs employer and was not party to any employment
                7 agreement with Plaintiff.
                8                     THIRTY-SECOND AFFIRMATIVE DEFENSE
                9                              (Lack of Personal Jurisdiction)
               10           32.   This Cou1t lacks personal jurisdiction over Answering Defendant
               11   PAUL J. NAPOLI.
               12                      THIRTY-THIRD AFFIRMATIVE DEFENSE
               13                                  (No Alter Ego Liability)
               14           33.   As a separate and distinct affirmative defense to the First Amended
               15 Complaint, Answering Defendant alleges that Plaintiffs claims are barred, in whole or
               16 in pa1t, because Answering Defendant is not the alter ego of any other defendant or
               17 entity.

               18                     THIRTY-FOURTH AFFIRMATIVE DEFENSE
               19                             (Estoppel on Alter Ego Liability)
               20           34.   As a separate and distinct affirmative defense to the F irst Amended
               21 Complaint, Answering Defendant alleges that Plaintiff is estopped from relying on the
               22 equitable alter ego doctrine because Plaintiff at all times knew and agreed that
               23 Defendants NAPOLI BERN RIPKA & ASSOCIATES, LLP; NAPOLI BERN RIPKA
               24 SHKOLNIK & ASSOCIATES, LLP; NAPOLI BERN RIPKA SHKOLNIK, LLP;
               25 NAPOLI, BERN, RIPKA, LLP; NAPOLI, KAISER, BERN, LLP (the Entity
               26 Defendants) were entities separate from Answering Defendant, that Answering
               27 Defendant was not a party to the alleged contracts with Plaintiff, and that Answering
               28 Defendant had no personal liability to Plaintiff.

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12969456.1                        DEFENDANT PAUL J. NA POLI'S ANSWER TO FI RST AMEN DED COMPLAINT
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                1                      THIRTY-FIVE AFFIRMATIVE DEFENSE
                2                            (Lack of Liability, New York law)
                3         35.   As a separate and distinct affirmative defense to the First Amended
                4 Complaint, Answering Defendant alleges that this Answering D efendant PAUL J.
                5 NAPOLI has no liability for the debts of any firm under New York law.
                6                       THIRTY-SIX AFFIRMATIVE DEFENSE
                7                               (Not party to an Agreement)
                8         36.   As a separate and distinct affirmati ve defense to the First Amended
                9 Complaint, Answering Defendant alleges that this Answering Defendant PAUL J.
               10 N APOLI was not a party to any contract with plaintiff and did not consent to
               11 Benchmark or ADR or arbitration.
               12                     ADDITIONAL AFFIRMATIVE DEFENSES
               13         Answering D efendant states that they do not presently know all facts
               14 concerning Plaintiff s cla ims sufficient to state all affirmative defenses at this time.
               15 Answering Defendant will seek leave of this Court to amend th is Answer should
               16 they later discover facts demonstrating the existence of additional affirmative
               17 defen ses .
               18                                 PRAYER FOR RELIEF
               19         WHEREFORE, Answering D efendant prays for re lief as follows:
               20         1.    That Plaintiff takes nothing and that the First Amended Complaint be
               21 dismissed in its entirety with prejudice;
               22         2.    That judgment be entered in Answering Defendant's favor;
               23         3.    That Answering D efendant be awarded their attorneys' fee s and costs
               24 of suit herein, to the extent permitted under applicable law; and
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12969456.1                      DEFENDANT PAU L J. NAPOLI 'S ANS WER TO FIRST AMENDED COMPLAINT
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                         4.    That Answering Defendant be awarded such other, further relief as the
                 2 Court deems just and proper.
                 3
                 4 Dated: April 16, 2018             FRASER WATSON & CROUTCH, LLP
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                 8                                        Attorneys for Defendant, PAUL J. NAPOLI
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                 1                                 PROOF OF SERVICE
                 2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                 3        At the time of service, I was over 18 years of age and not a party to this action.
                   I am employed in the County ofLos Angeles, State of California. My 5usiness address
                 4 is 100 West Broadway, Suite 650, Glendale, CA 91210-1201.
                 5      On April 16,2018, I served true copies ofthe following document(s) described
                   as DEFENDANT PAUL J. NAPOLI'S ANSWER TO FIRST AMENDED
                 6 COMPLAINT on the interested patiies in this action as follows:
                 7                          SEE ATTACHED SERVICE LIST
                 8        BY CMIECF NOTICE OF ELECTRONIC FILING: I electronically filed the
                   document(s) with the Clerk of the Court by using the CM/ECF system. Patiicipants in
                 9 the case who are registered CM/ECF users will be served by the CM/ECF system .
                   Participants in the case who are not registered CM/ECF users will be served by mail or
                10 by other means permitted by the court rules.
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  ~             11        I declare under penalty ofpetjury under the laws of the United States of America
 ;:r:              that the foregoing is true and correct and that I am employed in the office of a member
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                12 of the bar of this Court at whose direction the service was made.
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  ~             13        Executed on April 16, 2018, at Glendale, California.
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                   1                           SERVICE LIST
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                   5 Tel: (31 0) 552-4400
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                     San Diego, CA 9212
                   9 Tel: (858) 345-5080
                     Fax: 1858) 345 -5025
                  10
 p...                Stephen J. Eri~ero                      Attorney for Defendants, Napoli Bern
 ....:l
 ....:l           11 Tanereh "Tara ' Mahmoudian              Ripka & Associates, LLP; Napoli Bern
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